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                    Exhibit 7
                             Case 2:24-cv-00537 Document 1-7 Filed 01/19/24 Page 2 of 4 Page ID #:97January 17 2024 at 9 27 AM PST
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                                         Safety Shot to Garner Global Exposure with its Brand Activation Event at Coachella
                                         -One of the Top Music Festivals in the World
                                                                            Safety Shot, Inc.
                                                                            January 3, 2024 • 5 m in read



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                                                                                                                                                                                                                                                            El
                                                                            Safety Shot to Garner Global Exposure with its Brand Activation Event at Coachella
                                                                                                                                                                                                           Related Quotes

                                                                            • Set to be highlight of Coache/la 's opening weekend with 125,000 people in
                                                                                attendance, Safety Shot - the world's first patented drink that helps people                                                SHOT                 2.0999        +0.3099     +17.31 %
                                                                                                                                                                                                            Safety Shot, Inc
                                                                                feel better faster by reducing blood alcohol content and boosting clarity- will
                                                                                                                                                                                                            SHOlW                  t .5600     +0 4000     +34 48%
                                                                                be featured at Safety Shot House                                                                                            SafetyShot,lnc



                                                                            • Safety Shot will create an incredible Coachella party experience with an                                                     Recently Viewed >

                                                                                unforgettable fusion of top music talent, a star•studded guest list, and                                                                                         Char,oe   '% Char,oe

                                                                                exhilar ating activations                                                                                                   SPY                    472.74         -2.19     -0 46%


                                                                            JUPITER, FL, Jan. 0 3, 2024 (GLOBE NEWSWIRE) ·· Safet y Shot , Inc. (Nasdaq, SHOT)                                              TSLA                   213.40         -6.51     -2 96%

                                                                            today announced its inaugural brand activat ion wit h ~safety Shot House" at t he
                                                                                                                                                                                                            AIEQ                    34.28         -0.22     -0 65%
                                                                            Coachella Valley Music and Arts Festival on April 12 - 14, 2024. One of t he highest                                            AIPowefed EQUlly ETF

                                                                            profile event s in the music and art s world, Coachella attendees, an est imated
                                                                            250,000 over both weekends, are an ideal demographic for Safety Shot , the world's                                             TRENDING
                                                                            f irst patent ed drink t hat helps people feel better fast er by reducing blood alcohol                                                M anchest er Unit ed, SOlarEdge, Prologis:
                                                                                                                                                                                                                   Trending ticker s
                                                                            cont ent and boosting clari ty. Saf ety Shot joins ot her global beverage brands t hat
                                                                                                                                                                                                                   UPDATE 1-Gildan Act ivewear says for mer
                                                                            have created act ivations at Coachella including Heineken, Pat ron, Do n Julio, 818
                                                                                                                                                                                                                   CEO faited to disclose ties wit h a
                                                                            Tequila, Apero1 Sprit z, and Evian.                                                                                                    shareholder

                                                                                                                                                                                                                   Cisco CEO talks Al and why t he interne t
                                                                            · This Coachella party isn't just an event; it 's an experience that will help showcase
                                                                                                                                                                                                                   'needs· the company
                                                                            t he magic t hat is Safet y Shot on a global scale," said Saf ety Shof s Chief Revenue
                                                                                                                                                                                                                   Fed, European central banks may cu t
                                                                            Officer, Josh Wagner. ··coachella is where t he t op brands of the world engage wit h                                                  r ates soon: Economist

                                                                            and support a thr iving music and arts scene. Safety Sho t has been extremely well                                                     FOREX-Dollar hits fresh one month high
                                                                            received in it s early pre-launch act ivities and sales, and we are super excit ed to                                                  after r etail sales data

                                                                            have t his very high-prof ile launch for a brand that redef ines funct io nal beverages."

                                                                            The Safety Shot House Coachella experience will f eat ure exciting cura ted
                                                                            act ivations where festival goers can immerse t hemselves in a wo rld of excitement.                                                                             25 l 'E OICIEMBRE
                                                                                                                                                                                                                                              "1-31DE ENERO
                                                                            From int eractive experiences t o lnst agrammable installat ions, every corner of t he
                                                                            event will be designed to capt ivate and entert ain.

                                                                            Music talent will take t he st age t o deliver elect rif ying performances, creating an
                                                                            at mosphere t hat resonat es wi t h the spirit of Coachella. Joining t he ranks of the
                                                                            f est ival's elit e, t he Saf ety Shot House star-studded guest list will be a who's who of
                                                                            t he entertainment world. Celebrit ies, influencers, and t rendsetters will converge for
                                                                            a night of fun and excit ement.

                                                                            Leading up to the fest ival, Safety Shot will have a giveaway for consumers to win a
                                                                            chance to attend this extraordinary event during Coachella·s opening weekend.
                                                                            Brand enthusiasts can follow Safety Shot on social media for exclusive updates and
                                                                            behind-the-scenes glimpses.
                                                                                                                                      Exhibit 7                                                                                  Ii
                                                                                                                                      Page 90
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              Safety Shot's CEO, Brian John, added, " We believe Safet y Shot is poised to take off
                                  as a global brand because of how people feel when they drink it. Through exposure
                                  at Coachella and social media around t he Safety Shot House, people around the                                          ■ Liver~
                                  world will be introduced to Safety Shot, extending the audience for our drink well
                                  beyond t he hundred-thousand-plus fest ival goers who can experience Safet y Shot
                                  House first-hand."

                                  Safety Shot is no ordinary drink; it's the revolution in recovery that will redefine
                                  nightlife experience and t ransform mornings. Its patent ed formula accelerates the
                                  detoxification process leaving people feeling better faster. Compared to t radit ional
                                  remedies that require wai ting for hours, Safety Shot works within minutes. A fast-
                                  act ing formula with over 20 funct ional ingredients, Safety Shot is an ultra-hydrating
                                  complete recovery solution. ••

                                  About Safety Shot

                                  Safety Shot, a wellness and functional beverage company, is set to launch Safety
                                  Shot, t he first patented beverage on Earth t hat helps people feel better faster by
                                  reducing blood alcohol content and boosting clar ity. Safety Shot has been available
                                  for ret ail purchase in t he fi rst week of December 2023 at
                                  www.OrinkSafet yShot.com and www.Amazon.com. The Company plans to launch
                                  business-to-business sates of Safet y Shot to distributors, retailers, rest aurants, and
                                  bars in t he first quar ter of 2024. Safety Shot plans to spin off legacy assets from its
                                  Jupiter Wellness business to unlock value for shareholders.

                                  Forward Looking Statements

                                  This communication con tains forward-looking statements regarding Safety Shot,
                                  including, the anticipated timing of studies and the resul ts and benefits thereof.
                                  You can generally ident ify forward-looking statements by the use of forward-
                                  looking terminology such as "anticipate," '·believe," '"continue," "could," '·estimat e,"
                                  "expect,- "explore,- "evaluate,- "intend," "may," "might," "plan;· "potential," "predict ,"
                                  '·project," "seek," '·should," or "will," o r the negative thereof or other variations
                                  t hereon or comparable terminology. These forward-looking statements are based
                                  on each of the Company's current plans, objectives, estimates, expectat ions, and
                                  intent ions and inherent ly involve significant risks and uncertainties, many of which
                                  are beyond Safet y Shot's control . Actual results and t he timing of events could
                                  differ materially from those anticipated in such fo rward-looking statements as a
                                  result of these risks and uncertainties and other risks and uncertainties affecting
                                  Safety Shot and, including t hose described from time t o time under the caption
                                  "Risk Factors·· and elsewhere in Safety Shot 's Securities and Exchange Commission
                                  (SEC) filings and reports, including Safety Shot's Annual Report on Form 10 -K for
                                  the year ended December 31, 2023 and future filings and report s by Saf ety Shot.
                                  Moreover, other risks and uncertainties of which the combined company is not
                                  currently aware may also affect each of the companies' forward-looking statements
                                  and may cause actual results and the timing of event s t o differ materially from
                                  those anticipat ed. Investors are cautioned that forward-looking statements are not
                                  guarantees of future performance. The forward-looking statements made in this
                                  communication are made only as of the dat e hereof or as of the dates indicat ed in
                                  the forward -looking statements and reflect the views stated therein with respect to
                                  future events at such dates, even if they are subsequent ly made available by Safety
                                  Shot on its website or ot herwise. Safety Shot undertakes no obligation to update or
                                  supplement any forward-looking statements to reflect act ual results, new
                                  informatio n, future event s, changes in its expect ations or ot her circumstances that
                                  exist after the date as of which the forward-looking statements were made.

                                  Media Contact:
                                  Phone: 904-477-2306
                                  Email: Emily@PanatelidesPR.com

                                  Investor Contact:
                                  Phone: 561-244-7100
                                  Email: investors@safetyshotholdings.com

                                  ###

                                  Attachment

                                   • Saf et y Shot, Inc.




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